6:17-cv-00217-RAW-SPS Document 20-2 Filed in ED/OK on 11/03/17 Page 1 of 4




                      SPECIAL REPORT
                             Exhibit 2:


                               Medical
                 6:17-cv-00217-RAW-SPS Document 20-2 Filed in ED/OK on 11/03/17 Page 2 of 4
                                                                                                                                                                    13-31A2


                                       Facility Emergency Anatomical Fotm



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                                                             ~                                 )lR~~ DzSllt qb%
                                                                                               L~ (~ lj!.~
                                                                                               ~uu       L                L                   R
~Inmate/Resident       D Employee
Facility Name:        OCF                                                     Date:        ·~fz.3 lr t,                Time:            ~            '39R
Name: (Last, First)   'Ol.U i 5 ,:Jerci..rd      I> .                          Agency# I Employee#:                lQftlleS                                                I
Age:     d.."'                   ~
                             Race:                   Sex:   111 male D female            Time Notified: ·        l 31:$                Time Seen:      1,5'3"
Place of Occurrence:       FB ~ (~                                   Dateffime of Occurrence:                ·   t~f:M ft C..             @_ _ _ __
Reason for Report: D injury 0 on the job injury ~use of force D pre-seg admission 0 other: _ _ _ _ _ _ _ __
Mode of Arrival? 0 wheelchair ~ambulatory           ~~n-site         D escorted by _ _ _..;;;;;SC>f;;..=;.~f.___ _ _ _ _ _ _ _ __
 Iniuries Found? &Yes D No - If ves, use the a rooriate code number on the fil!ures above
 Abrasions/Scratch    I I Fresh Tattoo         7 I Reddened Area I I 3 I Other, list below                                            Time:                    __
 Active Bleeding      I 2 Cut/Laceration/Slash 8 I Skin Flan      I 14
 Bruise/Discoloration I 3 Chemical Sorav Area 9 I Swollen 'Area I I 5
                                                                                                                     17
                                                                                                                     18               LIP Notified:  ____ __
                                                                                                                                                        __,_
 Bum                  I 4 Pain                 10 I Ooen Fracture I 16                                               19               Time:_ _ _ _ _ _ __
 Deformi                5 I Protrusion         11                                                                                     Form Com~ted ~yffitle:
.Dried Blood            6 I Puncture           12                                                                                                     '
                                                                                                                                      Print/SignlfiWl1...L.~                   •W
Chemical Spray Exposure? ~es D No Decontaminated? ci'Yes D No Self-decontamination in~tructions given? !WV-- Mtkt                                                                   I
Refused Decontamination? D Yes 5! No             Placed on every 15 minute respiratory checks? D Yes ~No
Brief Statement in subject's words of the circumstances ofthe occurrence: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


Comments:      fuJOi~                  (l..M.<:\ clistu..~\1.l. (~ad ~k".
Disposition:     ~                 •                    Time:_l_'3_!Je-=------


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               6:17-cv-00217-RAW-SPS Document 20-2 Filed in ED/OK on 11/03/17 Page 3 of 4
                                                          OKLAHOMA DEPARTMENT OF CORRECTIONS
                                                              REQUEST FOR HEAL TH SERVICES



  fto rsE'.COMRtETED'.'BY;;o FRE~GERJ                                        Facility:     {)CF                       Date: (   c.l:?J]
  Offender Name                          Je..10.vr) Ou..\J 6                                          DOC#    #8Jta5        Unit    6'.. (0 l
  I request the following service(s): (Check appropriate box(s})

  ref' Medical     0       Mental Health                      0      Dental · 0         Optometry (eye)   0    Medication Renewal
                                                                                                               (expired medications only)
                                                                                                                  '                       '




  Reason for service:                   Ac;               ,C-e<.f Is ~ we.({tl/"0 !VIC! M,r J>e:$               !lfl:    rLUrnh.


                                             -----------·---------------·-
                       •   -   -·-   ··-·-·-··   ·:i:;;



 ,-un«:i~-rsfand thaf in-acc-6ra:~ri~~ ·withoper~tibhs memoranaum·6f5.'"f4oll7-~wtUii18-:!Jfi\Ccess f6. - -:__•;_
··ri-eatth--eare11;-t-witt--be--e-h-ru--gedc--$4-f-of---each--medical-serviceJ__.re.quesf..arn;Lq_.i:;ha~g_g__Qf $4 fq_r each
 medication(s) dispensed to me, with the exceptions noted in the above:..reference operations
 memorandum. There is_ no charge to the offender for mental health services ·and/or mentaf
 health medications.




Comment:                                                          """.....    ......-




                                                           'rz;J                              t 3\ (1
                                                                                               Date



~OTE: All "Keep on Person" (KOP's) medication refill requests must be submitted to the facility's
1ealth services unit or to the medical host facility, using the "Medication Refill Slip" (DOC 140130M).
Medication Refill Slips" must be submitted within ten days of the date the medication expires or runs
1ut. "Medication Refill Siips" are readily available and accessible at designated locations within the
3Cility.

                                                                                                                                  DOC 140117A
                                                                                                                                      (R 10/15)
                     6:17-cv-00217-RAW-SPS Document 20-2 Filed in ED/OK on 11/03/17 Page 4 of 4



                                             OKLAHOMA DEPARTMENT OF CORRECTIONS
                                               WAIVER OF TREATMENT/EVALUATION
                                                      (Form must be completed in its entirety)


                                                                                      1
        Facility         &.f                                              Date            (   1'3( \'1   Time_ _   l.....0--=A
                                                                                                                             . . .'{.___ __

        I certify that I am refusing to consent to -the following treatment/procedure/diagnostic test/medication/outside
        referral/laboratory at my own insistence and against the advice of the health care provider.

        1.         Refusal for:     5CJ?. -          fa4J teJf. 5{1p         · / fe,et Su.Jell j (\(k              ,4-o-eS    trtU.Mb



        2.         Reason for the refusal:    '-'   nurse dDa!:A''~ Ktlow ~+                        4u5 d.Di M. ,,

....-...3,--, -


                                                                     'uju
       4.         During the clinical interview which i?'rtluded counseling and education, the qualified healthcare professiq_n._al .has
                  given me the opportunity   toask questions and has answered my questions.

       5.     _ I assume full responsibility for any results caused by my decision and I hereby release the institution, its
                employees, officers, and the provider from all legal responsibility and liability.

       6.         I certify that I am of sound mind and have read, or had read to me, and fully understand the above information
                  concerning my refusal to accept treatmenVevaluation and have had an opportunity to ask questions before I affix
                  my signature.

      7.          I understand I may retract my decision and receive the treatment/procedure/diagnostic test/medication/outside
                  referral/laboratory, although consequences due to the delay may result.




      - ·-    fer Signature
                                                     1l Jill                                             ,{1._
                                                                                                                           Date
                                                                                                                               ,3I11
                                                       Date

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     If the offender refuses to sign such a statement, he/she cannot be forced to do so legally nor may release be withheld until
     the offender signs. If this occurs, the form should be filled out, witnessed by two facility personnel and the statement
     documented on the form, "SIGNATURE REFUSED."

      Offender's Name         /('            d                                                           DOC NO.

                  b0-\f1S1 \) er6-.f                                                                       (o    ~8 l~5

                                                                                                             DOC 1401170(R10/14)
